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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                       3:16-cr-00051-BR-5

           Plaintiff,                          JUDGMENT

v.

RYAN BUNDY,

           Defendant.


BROWN, Senior Judge.

      On October 27, 2016, Defendant Ryan Bundy was found Not

Guilty of Counts One and Two of the Superseding Indictment

(#282).   The Court, therefore, enters a judgment of acquittal as

to Counts One and Two of the Superseding Indictment.

      On June 10, 2016, the Court dismissed Count Three of the

Superseding Indictment.       See Order (#671) Granting Motion to

Dismiss, issued June 10, 2016.       The Court, therefore, enters a

judgment of dismissal as to Count Three of the Superseding

Indictment.



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      The jury did not reach any unanimous verdict as to Count

Five of the Superseding Indictment.           On January 23, 2018, the

government filed an Unopposed Motion (#2420) to Dismiss Count

Five of the Superseding Indictment in which the government moved

to dismiss Count Five with prejudice.           The Court granted that

Motion.   See Order (#2579), issued February 27, 2018.

Accordingly, the Court enters a judgment of dismissal as to Count

Five of the Superseding Indictment.

      The underlying indictment is also dismissed as to Defendant

Ryan Bundy.

      Therefore, it is ORDERED and ADJUDGED that Defendant Ryan

Bundy is acquitted, discharged, and any bond exonerated.

      IT IS SO ORDERED.

      DATED this 6th day of March, 2018.




                                   ANNA J. BROWN
                                   Senior United States District Judge




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